        Case 1:18-cr-00204-NGG-VMS Document 946 Filed 10/07/20 Page 1 of 7 PageID #: 16473
AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet I



                                          UNITED STATES DISTRICT COURT
                                                         Eastern District ofNew York
                                                                           )
               UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                                                           )
                                   v.                                      )
                                                                           )
                                                                                   Case Number:                    CR 18-0204 (S-3) (NGG)
                                                                           )
                       CLARE BRONFMAN                                      )       USM Number:            91010-053
                                                                           )
                                                                           )       Ronald S: Sullivan, Jr:,,_E_s~q~. _ _
                                                                           )       Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         OJ\!13, (1) AND '[WO (2) OFT~ SUPERS_FDlNG TNFORMATION: ~(S_-~3)_._ _
0 pleaded nolo contendere to count(s)
    which was accepted by the court.
0 was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section               Nature of Offense                                               Offense Ended            Count
8 U.S.C. §§ 1324(a)(l)        CONSPIRACY TO CONCEAL AND HARBOR ALIENS                         January 2018             1 (S-3)
(A)(v)(l) and 1324(a)(l)      FOR FINANCIAL GAIN
(B)(i)
18 U.S.C. §§ 1028(a)(7),      FRAUDULENT USE OF IDENTIFICATION                                 March2018               2 (S-3)
1028(b)(l)(D) and
1028(c)(3)(A)
       The defendant is sentenced as provided in pages 2 through _ _ 7_ _ . of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
X     Any underlying Indictment is dismissed by motion of the United States.

0 Count(s)                                              0 is       0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the comt and United States attorney of material changes in economic circumstances.

                                                                         Septerriger 30, 2020
                                                                         Date of Imposition of Judgment
                                                                           •
                                                                          T/JDIPMBT((BSBVGJT
                                                                         s}gnature ofJudge ·




                                                                         Nicholas G. Garaufis, U.S.D.J.
                                                                         Name and Title of Judge


                                                                        Qctober 6, 2020
                                                                         Date
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                       Judgment -   Page _-=.2_ of   7
DEFENDANT:                     CLARE BRONFMAN
CASE NUMBER:                   CR 18-0204 (S-3) (NGG)

                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total tenn of:    EIGHTY-ONE (81) MONTHS (CAG) ON COUNTS ONE ( 1) AND TWO (2) OF THE SUPERSEDING
INFORMATION (S-3) WHICH SHALL RUN CONCURRENTLY.




      X The court makes the following recommendations to the Bureau of Prisons:
          THE COURT RECOMMENDS TOTHEBUREAUOFPRISONS THATDEFENDANTBEDESIGNATED TO THE
          MINIMUM SECURITY CAMP AT DANBURY, CONNECTICUT.



      X The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
          □ at                                   D   a.m.    D p.m.       on

          D as notified by the United States Marshal.

      D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                        to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a ce1tified copy of this judgment.


                                                                             ···-··•--,-···,¥·-··--·- - - - - ~ - - - - -
                                                                                                    UN1TED STATES MARSHAL



                                                                        By - - - - - - - --
                                                                                               DEPUT Y UNITED STATES MARSHAL
       Case 1:18-cr-00204-NGG-VMS Document 946 Filed 10/07/20 Page 3 of 7 PageID #: 16475

AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                                       3 _ of --~7_ _
                                                                                                       Judgment-Page _ _
DEFENDANT:                  CLARE BRONFMAN
CASE NUMBER:                CR 18-0204 (S-3) (NGG)
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: THREE (3) YEARS ON COUNTS ONE (1) AND
TWO (2) OF THE SUPERSEDING INFORMATION (S-3) WHICH SHALL RUN CONCURRENTLY.




                                                    MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              D The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check ifapplicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check ifapplicable)
5.     D You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.     D You must pai1icipate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment -Page         4       of
DEFENDANT:                     CLARE BRONFMAN
CASE NUMBER:                   CR 18-0204 (S-3) (NGG)

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially repmiing to the probation office, you will receive instructions from the com1 or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      anangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected-change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. lfyou do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. lfyou know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      fu-st getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.              .
l3.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D - Supervised Release
                                                                          Judgment-Page   _ 5 ______ of _ ______ _7
DEFENDANT:                  CLARE BRONFMAN
CASE NUMBER:                CR 18-0204 (S-3) (NGG)

                                         SPECIAL CONDITIONS OF SUPERVISION

I. THE DEFENDANT SHALL NOT POSSESS A FIREARM, AMMUNITION OR ANY DESTRUCTIVE DEVICE;


2. THE DEFENDANT SHALL COMPLY WITH THE FINE, RESTITUTION ORDERS AND ATTACHED ORDER OF
FORFEITURE;


3. UPON REQUEST, THE DEFENDANT SHALL PROVIDE THE U.S. PROBATION DEPARTMENT WITH FULL
DISCLOSURE OF HER FINANCIAL RECORDS, INCLUDING CO-MINGLED INCOME, EXPENSES, ASSETS AND
LIABILITIES, TO INCLUDE YEARLY INCOME TAX RETURNS.            WITH THE EXCEPTION OF THE FINANCIAL
ACCOUNTS REPORTED AND NOTED WITHIN THE PRESENTENCE REPORT, THE DEFENDANT IS
PROHIBITED FROM MAINTAINING AND/OR OPENING ANY ADDITIONAL INDIVIDUAL AND/OR JOINT
CHECKING, SAVINGS, OR OTHER FINANCIAL ACCOUNTS, FOR EITHER PERSONAL OR BUSINESS
PURPOSES, WITHOUT THE KNOWLEDGE AND APPROVAL OF THE U.S. PROBATION DEPARTMENT. THE
DEFENDANT SHALL COOPERATE WITH THE PROBATION OFFICER IN THE INVESTIGATION OF HER
FINANCIAL DEALINGS AND SHALL PROVIDE TRUTHFUL MONTHLY STATEMENTS OF HER INCOME AND
EXPENSES. THE DEFENDANT SHALL COOPERATE IN THE SIGNING OF ANY NECESSARY AUTHORIZATION
TO RELEASE INFORMATION FORMS PERMITTING THE U.S. PROBATION DEPARTMENT ACCESS TO HER
FINANCIAL INFORMATION AND RECORDS;


4. THE DEFENDANT SHALL NOT ASSOCIATE IN PERSON, THROUGH MAIL, ELECTRONIC MAIL OR
TELEPHONE WITH ANY INDIVIDUAL WITH AN AFFILIATION TO EXECUTIVE SUCCESS PROGRAMS, NXIVM,
DOS OR ANY OTHER NXIVM-AFFILIATED ORGANIZATIONS; NOR SHALL THE DEFENDANT FREQUENT ANY
ESTABLISHMENT, OR OTHER LOCALE WHERE THESE GROUPS MAY MEET PURSUANT, BUT NOT LIMITED
TO, A PROHIBITION LIST PROVIDED BY THE PROBATION DEPARTMENT;


5. THE DEFENDANT SHALL NOT CONTRIBUTE TO THE BUREAU OF PRISONS (BOP) COMMISSARY
ACCOUNTS OF ANY CO-DEFENDANTS OR PARTICIPANTS OF EXECUTIVE SUCCESS PROGRAMS, NXIVM,
DOS OR ANY OTHER NXIVM-AFFILIATED ORGANIZATIONS.
       Case 1:18-cr-00204-NGG-VMS Document 946 Filed 10/07/20 Page 6 of 7 PageID #: 16478
AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                     Judgment - Page       6       of     7
 DEFENDANT:                        CLARE BRONFMAN
 CASE NUMBER:                      CR 18-0204 (S-3) (NGG)
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.



                       Assessment               Restitution             Fine                   Forfeiture Money                JVTA Assessment**
                                                                                               Judgment
 TOTALS            $ 200.00                  $ 96,605.25            $   500,000.00           $ 6,000,000.00            $   NIA


 D    The detennination of restitution is deferred until       ----
                                                                            An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportionedpayment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664t1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                Total Loss***                       Restitution Ordered                  Priority or Percentage
 Jane Doe 12 (Contact the                                                      $96,605.25
 government for any
 restitution payment
 infonnation.)




 TOTALS                              $                                         $ 96,605.25


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D   the interest requirement is waived for the           D fme    D restitution.
       D   the interest requirement for the        D     fine    D restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking A.ct of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters t 09A, 110, 11 OA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
       Case 1:18-cr-00204-NGG-VMS Document 946 Filed 10/07/20 Page 7 of 7 PageID #: 16479
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       S heel 6 - Schedule of Payments

                                                                                                              Judgment -   Page    7      of        7
 DEFENDANT:                  CLARE BRONFMAN
 CASE NUMBER:                CR 18-0204 (S-3) (NGG)

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     X    Special Assessment of$ _2_0_0_.0_0_ _ __          due immediately, balance due

            D     not later than                                   , or
            D     in accordance with D C,            D D,     D     E,or       D   F below; or

 B     □                                                                   D             D D, or      D F below); or
       X    Fine Payment of $500,000.00 due immediately.
 C     D                           ____ (                                                                              over a period of
                            (e.g., months or years), to commence                   . (e.g., 30 or 60 days) after the date of this judgment; or

 D     D    Payment in equal      _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                          (e.g., months or years), to commence        . . . . (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E
      X     Forfeiture Money Judgment of $6,000,000.00 due immediately and payable within 30 days.

 F     X Order of Restitution of $96,605.25
            An additional Order of Restitution is ordered but the amount is still to be determined at a later date. The government will
            file an additional Order of Restitution within 90 days from October 27, 2020.




 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                    Joint and Several                 Corresponding Payee,
       (including defendant number)                        Total Amount                        Amount                            if appropriate




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and ( 10) costs, mcluding cost of
 prosecution and court costs.
